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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION

 SOVEREIGN PEAK                            §
 VENTURES, LLC,                            §
     Plaintiff,                            §
                                           § CASE NO. 6:22-cv-1273-ADA-DTG
                                           §
 v.                                        §
                                           §
 TP-LINK CORPORATION                       § JURY TRIAL
 LIMITED f/k/a TP-LINK                     §
 INTERNATIONAL LTD.                        §
      Defendant.                           §


                    ORDER OF DISMISSAL WITH PREJUDICE

      CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal

With Prejudice of all claims asserted by Plaintiff Sovereign Peak Ventures, LLC against

Defendant TP-Link Corporation Limited f/k/a TP-Link International Ltd. in this case, and

the Court being of the opinion that said motion should be GRANTED, it is hereby

      ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit by

Plaintiff Sovereign Peak Ventures, LLC against Defendant TP-Link Corporation Limited

f/k/a TP-Link International Ltd are hereby dismissed with prejudice, subject to the terms

of that certain agreement titled “SETTLEMENT AND LICENSE AGREEMENT” and

dated October 31, 2023.
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        It is further ORDERED that all attorneys’ fees and costs are to be borne by the

party that incurred them.

        SIGNED this 29th day of November, 2023.




                                              ________________________________
                                              ALAN D ALBRIGHT
                                              UNITED STATES DISTRICT JUDGE




ORDER                                                                               PAGE 2
